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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


   YASMINE COELLO,                                 Civil Action No.

                  Plaintiff,                       20-1682 (SDW) (LDW)

   v.
                                                   ORDER
   LOUIS M.J. DILEO, et al.,

                  Defendants.


        THIS MATTER having come before the Court by way of defendant Nicholas Scutari’s

 application for a protective order pursuant to Federal Rule of Civil Procedure 26(c) (ECF 105,

 108); and plaintiff Yasmine Coello having opposed the application (ECF 107); and the Court

 having carefully considered the parties’ submissions; and the Court having convened a hearing on

 the record on December 16, 2024 to issue its opinion; and for the reasons set forth fully on the

 record; and for good cause shown;

        IT IS on this day, December 17, 2024, ORDERED that defendant Scutari’s application

 for a protective order is DENIED.


                                               s/ Leda Dunn Wettre
                                              Hon. Leda Dunn Wettre
                                              United States Magistrate Judge
